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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                           )
                                                       )
                                Plaintiff,             )
                                                       )
                        vs.                            )      1:14-cr-00096-SEB-TAB
                                                       )
   DANNY W. MAGGARD,                                   )                 -13
                                                       )
                                Defendant.             )


                 ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed the Magistrate Judge’s Report and Recommendation that Danny W.

 Maggard’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and Rule

 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court hereby

 approves and adopts the Report and Recommendation as the entry of the Court, and orders the

 imposition of a sentence of imprisonment of six (6) months to be served in the custody of the

 Attorney General or his designee, with no supervised release to follow. The court recommends that

 the Defendant be assigned to a Bureau of Prisons facility that can provide substance abuse treatment,

 and further recommends that his designation be expedited so that he can obtain the benefit of that

 treatment program.



 SO ORDERED.


 Date: 2/15/2017
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